       Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 1 of 17




              IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        CENTRAL DIVISION

-------------------------- x
DYLAN BRANDT, et al.,      :
                           :
                Plaintiff, :
           v.              : Case No. 4:21-CV-00450-JM
                           :
LESLIE RUTLEDGE, et al.,
                           :
                Defendant. :
                           :
-------------------------- x

REPLY IN SUPPORT OF MOTION TO EXCLUDE EXPERT TESTIMONY
                   OF MARK REGNERUS

             Prof. Mark Regnerus offers opinions on a host of medical issues

concerning treatments for gender dysphoria, the practices of medical providers in

this field, the ability of minors to consent to the medical interventions prohibited

under the Health Care Ban, and the bases for the recommendations of medical

organizations, providers, and researchers that support, provide, and research medical

interventions for gender dysphoria. Defendants concede that Prof. Regnerus—a

sociologist whose work focuses on religion, family structure, and sexual

relationships and who has no experience or training in medicine, mental health, and

the treatment of gender dysphoria or transgender people—is unqualified to testify as

a medical expert. (Defendants’ Response to Plaintiffs’ Motion to Exclude Expert

Testimony of Mark Regnerus, ECF 161, (“Opp.”) at 2.) Defendants argue that
         Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 2 of 17




Prof. Regnerus is qualified to offer the opinions he offers because he is “applying

sociological and general scientific principles” and reframe the dispute as one about

the substance of Prof. Regnerus’s opinions, which is not at issue on this motion. (See

Opp. at 3, 6, 13–14.)1 But Prof. Regnerus’s opinions inescapably rest on medical

opinions that he is not qualified to offer, in addition to anecdotes and unscientific

commentary, and thus should be excluded for at least two reasons.

               First, Prof. Regnerus lacks any relevant qualifications to opine on

medical care, mental health, or gender dysphoria.                     Defendants claim that

“Dr. Regnerus is not testifying as a medical expert,” but Prof. Regnerus’s opinions

in this case either speak directly to medical issues or depend on his assessment of

medical issues. (Opp. at 2.)

               Defendants argue that any trained sociologist—even one without any

education, training, or experience involving medical treatments or gender dysphoria,

like Prof. Regnerus—can “critique scientific methods and conclusions” in medical

research and opine on a host of medical issues related to treatments for gender

dysphoria. (Opp. at 7.) That is flatly inconsistent with Eighth Circuit law, which

requires that experts ground their opinions in “specialized knowledge” and “not



1
 Likewise, Defendants devote much of their brief to arguing the merits of the case, where they
offer numerous erroneous statements about the evidence and distortions of Plaintiffs’ arguments.
Plaintiffs strongly dispute Defendants’ characterization of the record, but the merits of the case
are not at issue on this motion.

                                               -2-
       Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 3 of 17




exceed the scope of [their] expertise.” Wheeling Pitt. Steel Corp. v. Beelman River

Terminals, Inc., 254 F.3d 706, 715 (8th Cir. 2001).

               Defendants further argue that Prof. Regnerus’s views about alleged

“ideological    capture”   among     medical    researchers,   medical   professional

organizations, and medical clinicians working in the field of gender-affirming health

care are not about medical issues. But Prof. Regnerus’s views on this topic are

inextricably intertwined with his judgment on medical topics, which he is not

qualified to make because he has no education, training, or experience in medicine,

mental health, or the treatment of gender dysphoria. Prof. Regnerus’s testimony

should thus be excluded based on lack of qualifications.

               Second, Defendants offer no response to Plaintiffs’ argument that

Prof. Regnerus’s claims of ideological capture are also unreliable because they rest

“entirely on anecdotes and unadorned speculation.” (Brief in Support of Motion to

Exclude Expert Testimony of Mark Regnerus, ECF 156, (“Brief in Support”) at 19.)

The unreliability of Prof. Regnerus’s opinions about ideological capture provides an

independent ground for their exclusion.

                                   ARGUMENT

I.    PROF. REGNERUS IS NOT QUALIFIED TO OPINE ON MEDICAL
      ISSUES RELATED TO GENDER DYSPHORIA

               Experts must be “well-versed in the particular discipline relevant to

their testimony,” Smith v. Rasmussen, 249 F.3d 755, 758 (8th Cir. 2001), and cannot

                                          -3-
        Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 4 of 17




testify on matters that go “beyond [their] expertise.” Am. Auto. Ins. Co. v. Omega

Flex, Inc., 783 F.3d 720, 724 (8th Cir. 2015) (citing Weisgram v. Marley Co., 169

F.3d 514, 520–521 (8th Cir. 1999)).       Prof. Regnerus’s testimony violates that

principle.   Throughout his report, he opines on medical issues, such as the

effectiveness of gender-affirming health care in treating gender dysphoria and the

practices of medical clinics providing gender-affirming health care, and then he uses

those conclusions as the basis for his broader allegations of bias and ideological

capture. Because Prof. Regnerus lacks any qualifications in medical care, mental

health, or gender dysphoria, this Court should exclude his testimony in its entirety.

             Defendants claim that, as a trained sociologist, Prof. Regnerus is

qualified to provide expert testimony on these medical issues because “the [research]

methods are similar” in his field of expertise and the medical field, and he “can read

a research paper, analyze its methods, and critique its conclusions.” (Opp. at 8.)

Accordingly, they say, Prof. Regnerus is qualified to opine on anything that might

fall within the “sociology of science.” (Opp. at 6.) The problem with Defendants’

argument is threefold.

             First, Prof. Regnerus has acknowledged that different academic fields

use different research standards. For instance, he conceded during his deposition in

this case that research standards may differ between sociology and medicine, the

latter for which he has no relevant education, training, or experience. (Motion Ex.


                                         -4-
         Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 5 of 17




4–Regnerus Dep. Tr. at 120:8–13; see also id. at 19:4-20:5.) Likewise, he has

previously testified about the different research standards applied in sociology and

psychology, the latter for which he has no qualifications. (Motion Ex. 8–March 4,

2014 Trial Tr. at 14:2–6); Deboer v. Snyder, No. 12-10285 (E.D. Mich. Mar. 4,

2014).

             Second, under Defendants’ made-up standard, Prof. Regnerus could

presumably testify about any field in which scientific research is conducted.

Scientific research is not merely abstract numbers and statistical analysis divorced

from the issues being studied. Medical research studies are assessing medical

conditions and their treatment. Without experience related to the medical conditions

and treatment at issue, one cannot speak to the significance of the data. A sociologist

cannot interpret the results of scientific research in a foreign field such as medicine

or chemistry or engineering without the training or experience to understand the

meaning of the data or the types of research methodology that may be appropriate.

             Third, not all of Prof. Regnerus’s medical opinions are based on

analysis of research methods. For example, he offers views about what constitutes

“experimental” treatment and how gender-affirming medical care is provided to

patients. The problem of offering opinions outside of one’s field is illustrated by

Prof. Regnerus’s opinion that off-label use of drugs means the treatment is




                                          -5-
         Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 6 of 17




experimental, which one of the State’s experts flatly rejected.2 (See Motion Ex. 6–

Levine Dep. Tr. at 250:14–19.)

               Defendants’ extraordinarily capacious view of expert qualifications to

permit anyone with experience in any type of scientific research to offer expert

opinions about scientific research in any field on any subject—as well as opinions

beyond mere analysis of scientific research—would eviscerate Daubert’s

gatekeeping function and is rightly foreclosed by Eighth Circuit precedent. In

Khoury v. Philips Medical Systems, the plaintiff sued the manufacturer of an

allegedly defective medical device and offered the testimony of an expert qualified

in ergonomics. 614 F.3d 888 (8th Cir. 2010). The district court held that the expert

was qualified to testify as to the amount of force and biomechanical stress the

plaintiff suffered, but not qualified to testify on whether there was a design defect.


2
 As explained in Plaintiffs’ opening brief, multiple statements made by Prof. Regnerus during his
deposition confirm his lack of knowledge about the medical field. (See Brief in Support at 9
(quoting statements).) Defendants’ response both misses the point and mischaracterizes
Prof. Regnerus’s testimony. (See Opp. at 8.) For instance, Defendants claim that when Plaintiffs
quoted Prof. Regnerus’s statement that he “[wa]s not aware that off-label use of medications is
common,” his language was taken out of context. But when asked “[h]ow common [it is] in
medicine for drugs to be used for off-label purposes,” Prof. Regnerus responded, “I don’t know,
but I know that it does occur.” (Motion Ex. 4 at 276:18–20.)

Defendants also wrongly claim that Plaintiffs mischaracterized Prof. Regnerus’s testimony that
he did not know how a randomized controlled trial would work in practice. When asked whether
it is “possible” to design a randomized controlled trial, Prof. Regnerus responded, “I recognize
and I think I even agree with Dr. Antommaria that it’s tough to see it work in reality.” (Motion
Ex. 4 at 179:11–15.) While he apparently was persuaded by Dr. Antommaria’s report,
Prof. Regnerus stated in his report that the absence of such trials “is difficult to account for.”
(Motion Ex. 1–Regnerus Decl., ¶ 6.)


                                               -6-
         Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 7 of 17




Id. at 891. In affirming the district court’s decision, the Eighth Circuit explained

that the expert “ha[d] no training, education, or experience in the design of medical

laboratories or of monitor banks and radiation shields.” Id. at 893.

               The Eighth Circuit has repeatedly affirmed the principle that there must

be a close fit between the subject of an expert’s testimony and that expert’s expertise.

In Wheeling Pitt. Steel Corp. v. Beelman River Terminals, Inc., the plaintiff put

forward the testimony of a “hydrologist specializing in flood risk management,” who

opined about whether or not a warehouse was properly designed to withstand a flood.

254 F.3d 706 (8th Cir. 2001). The Eighth Circuit held that the district court erred in

permitting the expert to testify, reasoning that the expert “sorely lacked the

education, employment, or other practical personal experiences to testify as an

expert specifically regarding safe warehousing practices.” Id. at 715 (emphasis

added). And, in Smith v. Rasmussen, the Eighth Circuit affirmed the exclusion of

an expert who was “an experienced, board-certified general psychiatrist who has

treated several patients with sexual disorders” but “had examined only one patient

with gender identity disorder,” and thus was “not well-versed in the particular

discipline relevant to their testimony.” 249 F.3d 755, 759 (8th Cir. 2001).3


3
  Defendants’ attempt to distinguish Smith v. Rasmussen is unavailing. (Opp. at 11.) They say
that Smith is inapplicable because Prof. Regnerus “has expertise in evaluating the research
methods used to support the false claims that there are strong associations between gender
dysphoria and suicide.” Id. Defendants ignore that the court held that even “a board-certified
general psychiatrist” was not qualified to offer views about the treatment for gender identity
disorder because, like Prof. Regnerus, “he lacked expertise in the specialized discipline of gender
                                                -7-
           Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 8 of 17




               Defendants’ position is incompatible with the settled law of the Eighth

Circuit.4 Because Prof. Regnerus lacks any relevant qualifications to opine on

medical care, mental health, gender dysphoria, or his testimony should be excluded.

          A.   Prof. Regnerus’s opinions about medical research and the
               effectiveness of gender-affirming medical care should be excluded.

               Defendants wrongly claim that Prof. Regnerus can opine on an entirely

distinct field of scientific research anytime that field “uses research methods that

share similarities with the research methods in which he received his training.”

(Opp. at 7.) Khoury, Wheeling, and Smith all require expertise in the “specialized

discipline” relevant to the testimony, not mere “similarities” between academic

fields.




identity disorder.” Smith, 249 F.3d at 758 (emphasis added). Applying that standard,
Prof. Regnerus’s knowledge of “research methods” is not enough. Defendants also ignore that the
court in Smith affirmed the district court’s conclusion that the expert’s “testimony about gender
identity disorder and the potential treatment options was unreliable because his opinion was based
on an indiscriminate literature review and was beyond the scope of his expertise.” Id. at 758. The
same is true here.
4
  Defendants mischaracterize Johnson v. Mead Johnson & Co., LLC, 754 F.3d 557 (8th Cir. 2014)
to support the proposition that Rule 702 imposes a “liberal” standard for admissibility. Id. at 562.
When stating that “Daubert and Rule 702 thus greatly liberalized” the admission standards for
expert scientific testimony, the Eighth Circuit was comparing the approach under Daubert to the
previous Frye test, which limited expert scientific evidence to that which was “generally accepted”
in the relevant scientific community. Id. at 561-62. Moreover, in Johnson, whether the purported
experts were qualified was “not seriously in dispute.” Id. at 562-63. Rather, the issue was whether
the district court had improperly relied on its own assessment of the correctness of the expert
opinion in excluding expert testimony. Id. But here, the issue is not about the substance of
Prof. Regnerus’s opinions; it is about whether he is qualified to make those opinions (and he is
not).

                                                -8-
        Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 9 of 17




             Defendants argue that Plaintiffs’ position presumes that “doctors alone

can comprehend and critique [medical] research methods.” (Opp. at 7.) But the

standard for admissibility is not merely whether an offered expert can read,

understand, or form opinions about the subject matter; it is whether that person is

sufficiently trained, educated, or experienced in the relevant discipline to speak as

an expert. Given Prof. Regnerus’s lack of qualifications in the medical field and the

treatment of gender dysphoria, the Court should exclude his testimony about medical

research or the effectiveness of gender-affirming medical care.

      B.     Prof. Regnerus’s opinions about whether gender dysphoria causes
             suicide or suicidality should be excluded.

             Prof. Regnerus’s training and particular experience in the field of

sociology does not qualify him to opine on whether gender dysphoria causes suicide

or suicidality. Whether or not a particular mental health condition causes suicide is

a psychological question.      Sociology and psychology are distinct fields, as

Prof. Regnerus has previously testified. (Brief in Support at 15 n.2.) Once again,

Prof. Regnerus has no relevant training, scholarship, or experience qualifying him

to opine on this subject. (See Motion Ex. 4 at 19:4-20:5.) Moreover, even if the

study of suicide is something that is studied by some sociologists, Defendants fail to

identify any specific qualification that would enable Prof. Regnerus to offer his view

on the subject.



                                         -9-
       Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 10 of 17




      C.     Prof. Regnerus’s opinions about how care is currently provided to
             adolescents with gender dysphoria should be excluded.

             Prof. Regnerus has no training, experience, or education qualifying him

to testify about how gender-affirming medical care is provided, much less provided

to adolescents in Arkansas. Indeed, Prof. Regnerus conceded during his deposition

that he had no idea how clinics actually provide care. (Motion Ex. 4 at 240:19–

241:15.) Defendants argue that he is qualified to opine on “how care is currently

provided to adolescents in Arkansas” because he cited in his expert report the

practice of a single clinic. (Opp. at 9.) However, Prof. Regnerus confirmed at his

deposition that he did not visit the clinic; he did not observe doctors provide such

care; he did not interview doctors who provided, or patients who received, such care;

nor did he review any other clinical data. (Motion Ex. 4 at 239:20-241:19.) In fact,

the most he could say during his deposition was that “[i]t sounds like [the Planned

Parenthood clinic] does not involve the documentation of psychological services.”

(Motion Ex. 4 at 245:21–23 (emphasis added).) When pressed for the basis of this

opinion, he could only point to his review of a website and a publicly available

article, although he “forg[o]t exactly where that appeared.” (Motion Ex. 4 at

245:21–246:12.) Moreover, when asked whether he knew “how care is provided at




                                        -10-
        Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 11 of 17




any clinic in Arkansas,” he responded, “I don’t.” (Motion Ex. 4 at 244:23-245:1.)

This testimony comes nowhere close to satisfying the standard under Rule 702.5

       D.      Prof. Regnerus’s opinions about how doctors obtain informed
               consent from patients prior to providing gender-affirming health
               care should be excluded.

               Defendants’ argument that Prof. Regnerus is qualified to provide expert

opinion on informed consent should also be rejected. When asked whether he knew

about basic criteria for informed consent in the medical context, Prof. Regnerus

replied, “I don’t.” (Motion Ex. 4 at 285:23–25.) Moreover, Prof. Regnerus admitted

during his deposition that he does not have “first-hand experience with the way

[medical] clinics obtain informed consent” before providing gender-affirming health

care. (Motion Ex. 4 at 296:20–24.) Prof. Regnerus’s experience in obtaining

informed consent for the purposes of conducting sociological surveys cannot

compensate for his lack of education, training, and experience in how informed

consent is appropriately obtained by medical providers or what medical providers

are actually doing to obtain informed consent to provide gender affirming medical

care to adolescents.




5
 And, as discussed in Section III, infra, given his inability to explain the factual or evidentiary
basis for his opinion on this topic, his testimony is also unreliable, reflecting nothing more than
“subjective speculation that masquerades as scientific knowledge.” Glastetter v. Novartis
Pharm. Corp., 252 F.3d 986, 989 (8th Cir. 2001).

                                                -11-
       Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 12 of 17




II.   PROF. REGNERUS’S OPINIONS ABOUT IDEOLOGICAL
      CAPTURE REST ON MEDICAL CONCLUSIONS HE IS NOT
      QUALIFIED TO OFFER

             Defendants argue that Prof. Regnerus should be permitted to opine on

“ideological capture,” including (i) his opinion on whether a person’s gender identity

is immutable, and (ii) the rationale and drafting process behind the WPATH

Standards of Care. (Opp. at 12.) As Plaintiffs explained in their opening brief, Prof.

Regnerus’s allegations of widespread bias and ideological capture among medical

organizations, medical researchers, and medical clinicians are inextricably

intertwined with his judgments about the effectiveness of gender-affirming medical

care and other medical topics.

             Prof. Regnerus claims, for instance, that the professional consensus in

favor of gender-affirming medical care is “suspicious” because it has formed in “the

absence of obvious, consistent indicators of treatment efficacy” (Motion Ex. 1–

Regnerus Decl., ¶ 86); that “the line between activists and academics is a rather thin

one” because the “science [is] unsettled[]” (Motion Ex. 1, ¶ 60); and that “the entire

gender medicine industry merits criticism for complicity in failing to conduct”

randomized controlled trials because he believes those trials would comport with

medical ethics (Motion Ex. 1, ¶ 72). The central claim of his report—that “science

is being pushed to the side for the benefit of social or political interests,” necessarily

turns on his view of medical research.            (Opp. at 2.) But given his lack of


                                           -12-
          Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 13 of 17




qualifications to assess this evidence, his testimony regarding “ideological capture”

must also be excluded.

               Defendants make little attempt to argue otherwise. First, Defendants

concede that the premise of Prof. Regnerus’s opinion on “ideological capture” is his

conclusion that “[c]urrent medical science does not show that drastic, irreversible

treatments for gender dysphoria are beneficial.” (Opp. at 13 (emphasis added).) But

because Prof. Regnerus can only reach his conclusions regarding ideological capture

by opining on disputed medical questions that he is unqualified to address—and that

the parties in this litigation intend to answer through the testimony of medical and

mental health experts at trial—his testimony should be excluded.             Second,

Defendants spend an entire page of their brief defending the substance of Prof.

Regnerus’s opinion, which is not at issue on this motion. (See Opp. at 12.) As

explained above, the relevant legal standard on this motion is not whether “the

research methods used in the field of gender medicine . . . [are] not all that

sophisticated,” (Opp. at 12), but whether Prof. Regnerus is “well-versed in the

particular discipline relevant to [his] testimony,” Smith, 249 F.3d at 759, which he

is not.

III.      PROF. REGNERUS’S OPINIONS ABOUT IDEOLOGICAL
          CAPTURE ARE SPECULATIVE AND UNRELIABLE

               Separately, Prof. Regnerus’s opinion on “ideological capture” is based

on mere conjecture, reflecting nothing more than “subjective speculation that

                                         -13-
       Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 14 of 17




masquerades as scientific knowledge.”             Glastetter, 252 F.3d at 989.

Prof. Regnerus’s testimony on “ideological capture” is therefore unreliable, and it

should be excluded on this independent basis.

             Although Plaintiffs squarely presented this argument in their opening

brief, Defendants offer no meaningful response. Defendants rest their argument on

two conclusory sentences: “Here, Dr. Regnerus used his statistical, qualitative, and

quantitative analyses [sic] experience to look at existing research to evaluate their

methods. He then analyzed whether outside social pressure influenced scientific

findings.” (Opp. at 13.) By failing to defend the factual or evidentiary basis for

Prof. Regnerus’s claims, the Court is left with nothing but “a great deal of

speculation[, which] involves inferences that approach leaps of faith.” Grp. Health

Plan, Inc. v. Philip Morris USA, Inc., 344 F.3d 753, 760 (8th Cir. 2003) (rejecting

expert testimony that “entail[ed] a great deal of speculation”).

             Accordingly, Prof. Regnerus’s testimony falls well short of the

reliability required by Rule 702.       He has indicted nationwide professional

organizations and an entire field of healthcare providers and researchers, accusing

them of putting ideology above science and the needs of patients and of silencing

opposing voices. But his attacks on doctors and researchers alike are based on

cherry-picked examples, and his attacks on major medical organizations lack any

explanation of how the work of those organizations differs from other medical


                                         -14-
         Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 15 of 17




organizations. (Brief in Support at 18–20.) Although Daubert leaves much to the

crucible of cross-examination, expert testimony should be excluded when, as here,

“there is simply too great an analytical gap between the data and the opinion

proffered.” Pro Serv. Auto., 469 F.3d at 1215. Given the paltry support that

Prof. Regnerus musters for his claims, his testimony is not “reliable or trustworthy

in an evidentiary sense.” Lauzon v. Senco Prods., Inc., 270 F.3d 681, 686 (8th Cir.

2001).    This is an independent additional reason to exclude Prof. Regnerus’s

opinions about ideological capture.

                                  CONCLUSION

              Prof. Regnerus has education, training, and experience in sociology,

specifically related to religion, family structures, and sexual relationships. Although

Defendants believe that training in sociology enables Prof. Regnerus to offer his

views on a sweeping array of medical topics on which he has no education, training,

or experience, the Eighth Circuit has consistently held that one must have the

necessary qualifications in the “relevant discipline” to serve as an expert.

Prof. Regnerus’s qualifications do not come close to meeting this standard.

Accordingly, Prof. Regnerus is not qualified to provide expert testimony on medical

issues related to gender dysphoria, nor is he qualified to provide expert testimony

about claims of ideological capture that are grounded in medical opinion.




                                         -15-
       Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 16 of 17




Separately, experts must offer some reliable basis for their testimony.

Prof. Regnerus’s claims of ideological capture lack any indicia of reliability.

             Accordingly, Plaintiffs respectfully submit that this Court should

exclude Prof. Regnerus’s testimony in full.



Dated: July 25, 2022

/s/ Leslie Cooper
Leslie Cooper                             Beth Echols, Ark. Bar No. 2002203
Chase Strangio*                           Christopher Travis, Ark. Bar No. 97093
American Civil Liberties Union            Drake Mann, Ark. Bar No. 87108
Foundation                                Gill Ragon Owen, P.A.
125 Broad St.                             425 W. Capitol Avenue, Suite 3800
New York, NY 10004                        Little Rock, AR 72201
Telephone: (917) 345-1742                 Telephone: (501) 376-3800
lcooper@aclu.org                          echols@gill-law.com
cstrangio@aclu.org                        travis@gill-law.com
Attorneys for the Plaintiffs              mann@gill-law.com
                                          On behalf of the Arkansas Civil Liberties
                                          Union Foundation, Inc.
                                          Attorneys for the Plaintiffs


Breean Walas, Ark. Bar No. 2006077        Sarah Everett, Ark. Bar No. 2017249
Walas Law Firm, PLLC                      Gary Sullivan, Ark. Bar No. 92051
P.O. Box 4591                             Arkansas Civil Liberties Union
Bozeman, MT 59772                         Foundation, Inc.
Telephone: (501) 246-1067                 904 W. 2nd Street
breean@walaslawfirm.com                   Little Rock, AR 72201
On behalf of the Arkansas Civil           Telephone: (501) 374-2842
Liberties Union Foundation, Inc.          sarah@acluarkansas.org
Attorneys for the Plaintiffs              gary@acluarkansas.org
                                          Attorneys for the Plaintiffs

Garrard R. Beeney*                        Laura Kabler Oswell*
                                         -16-
      Case 4:21-cv-00450-JM Document 170 Filed 07/25/22 Page 17 of 17




Brandyn J. Rodgerson*               Sullivan & Cromwell LLP
Emily T.L. Armbruster*              1870 Embarcadero Road
Alexander S. Holland*               Palo Alto, CA 94303
Sullivan & Cromwell LLP             Telephone: (650) 461-5600
125 Broad Street                    oswell@sullcrom.com
New York, NY 10004                  Attorneys for the Plaintiffs
Telephone: (212) 558-4000
beeneyg@sullcrom.com
rodgersonb@sullcrom.com
armbrustere@sullcrom.com
hollanda@sullcrom.com
Attorneys for the Plaintiffs        *Admitted pro hac vice

Daniel J. Richardson*
1700 New York Avenue NW
Suite 700
Washington, DC 20006
Telephone: 202-956-7500
richardsond@sullcrom.com

Attorney for Plaintiffs




                                   -17-
